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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



YOUTH 71FIVE MINISTRIES,                             Case No. 1:24-cv-399-CL

              Plaintiff,                             DEFENDANTS' MOTION TO DISMISS

       v.

CHARLENE WILLIAMS, Director of Oregon
Department of Education, in her individual
and official capacities; et al.,

              Defendants.




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                                         LR 7-1 CERTIFICATION

             Counsel for the Defendants conferred by telephone on March 27, 2024, with counsel for

     Plaintiff about the subject of this motion, but they could not resolve their dispute. Plaintiff opposes

     the motion.

                                                    MOTION

             Defendants Charlene Williams, Brian Detman, and Cord Buker, Jr. move to dismiss the

     claims filed against them in their individual capacities by Plaintiff Youth 71Five Ministries under

     Fed. R. Civ. P. 12(b)(6). This motion is supported by the following Memorandum of Law, the

     Complaint and its accompanying exhibits (ECF 1). Defendants move to dismiss Plaintiff’s claims

     against them for damages in their individual capacities because Defendants are entitled to qualified

     immunity. Even when taking allegations in the Complaint as true, Plaintiff cannot show that

     Defendants violated a clearly established law.

       I.       INTRODUCTION

             The Oregon Department of Education (ODE) through the Youth Development Division

     (YDD) provides funding for community-based youth development programs and services through

     the Youth Community Investment Grants (the “Grants”). ECF 1-9 at 4. To be eligible for a grant,

     an applicant must meet several requirements. A requirement for the May 1, 2023 Request for

     Grant Applications (RFA) required applicants to certify that they do not discriminate in certain

     employment or service delivery practices. ECF 1 at ¶ 89; ECF 1-7 at 23. Plaintiff admits that it

     discriminates in its hiring practices and requires that all employees and volunteers to “‘subscribe

     and adhere without mental reservation’” to a statement of faith. ECF 1 at ¶ 45. Plaintiff brings

     this lawsuit claiming that this nondiscrimination condition violates the Free Exercise and Free

     Speech clauses of the First Amendment, as well as the ministerial exception and church autonomy

     doctrine under the religion clauses of the First Amendment. ECF 1 at ¶¶ 145-183. Even if Plaintiff
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     ultimately proves its case, the rights Plaintiff claims Defendants violated are not clearly

     established. Defendants are therefore entitled to qualified immunity and all claims against them

     in their individual capacity for damages should be dismissed.

      II.       BACKGROUND1

             The YDD functions under the direction and control of the Youth Development Council

     (YDC). ORS 417.852. The Council coordinates “a unified and aligned system that provides

     services to school-age children through youth 24 years of age in a manner that supports educational

     and workforce success, promotes protective factors, prevents justice system involvement, reduces

     high risk behaviors and is measurable and accountable.” ORS 417.847(2). Among its duties, the

     YDD is charged with “[d]istribut[ing] funding as directed by the council or the Legislative

     Assembly and administer[ing] grant funding processes and programs.” ORS 417.852(3)(a). YDD

     administers the Grants as part of this program. See ECF 1 at ¶ 22.

             The Grants include four initiatives: (1) Youth Promise; (2) Youth Workforce Readiness;

     (3) Youth Solutions; and (4) Youth Violence and Grag Prevention. Id. at ¶ 65; ECF 1-9 at 4. The

     Youth Promise initiative provides funds for existing programs that help improve and sustain

     engagement in education and the workforce to help youth realize their potential. Id. at ¶ 66. The

     Youth Workforce Readiness initiative supports career exploration and skill development services

     for youth. Id. at ¶ 67. The Youth Solutions initiative funds programs supporting youth with risk

     factors leading to negative educational and workforce outcomes. Id. at ¶ 68. The Youth Violence

     and Gang Prevention initiative supports youth at risk of committing or being victims of violent

     crime. Id. at ¶ 69.



     1
       Defendants dispute many of the allegations made in the Complaint. However, Defendants bring
     this motion under Fed. R. Civ. P. 12(b)(6). For the purposes of this motion, the Court must assume
     Plaintiff's allegations are true.
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            YDD issued the Request for Grant Applications (RFA) for the Grants on May 1, 2023.

     ECF 1-9 at 2. The RFA contains an Applicant Information and Certification Sheet which contains

     several eligibility criteria for the Grants. Id. at 13, 24. These criteria are reflected in the online

     application. ECF 1-7 at 23; ECF 1-8 at 26. The application required all grant applicants to certify

     that they “do[] not discriminate in [their] employment practices, vendor selection, subcontracting,

     or service delivery with regard to race, ethnicity, religion, age, political affiliation, gender,

     disability, sexual orientation, national origin or citizenship status.” ECF 1-7 at 23; ECF 1-8 at 26;

     ECF 1 at ¶ 89.

            Plaintiff is a non-profit organization based in Medford, Oregon. ECF 1 at ¶ 20. Plaintiff

     identifies as a Christian organization. Id. It alleges it has approximately 30 employees and over

     100 volunteers. Id. at ¶ 41. Plaintiff applied for the Youth Promise grant and the Youth Violence

     and Gang Prevention grant. Id. at ¶ 74.

            Plaintiff admits that it discriminates in its employment practices by hiring only those who

     share its religious beliefs. Id. at ¶¶ 44-45. Plaintiff requires that all employees and volunteers

     “‘subscribe and adhere without mental reservation’” to a “Statement of Faith.” Id. at ¶ 45. Plaintiff

     also requires all employees and volunteers to “be actively involved in a local church” and to

     “encourage the students and families served by the ministry to be involved in a local church too.”

     Id. at ¶¶ 46-47. Despite these practices, Plaintiff “decided to check the box certifying that it does

     not ‘discriminate’” Id. at ¶ 93.

            In July 2023, YDD notified Plaintiff that it had been conditionally awarded grants under

     the program. Id. at ¶¶ 99-100. Four other faith-based organizations also received grants. Id. at ¶¶

     101-102. Plaintiff admits that those four organizations do not “require their employees or

     volunteers to share their faith or religious beliefs like 71Five Ministries does.” Id. at ¶ 103. On


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     October 9, 2023, ODE, on behalf of YDD, informed Plaintiff that it was disqualified from moving

     forward in the grant process because of its employment practices. See ECF 1-10 at 12-14; ECF 1

     at ¶¶ 106-108. ODE advised Plaintiff to suspend “all activities that are or may take place under

     the pending grant awards” and asked that Plaintiff respond if the information received concerning

     the employment practices was incorrect. ECF 1-10 at 13. Plaintiff responded and did not deny

     the accuracy of the information concerning its employment practices. Id. at 11. On November 13,

     2023, ODE informed Plaintiff that, based on their response, the final decision was made not to

     proceed with the grant because Plaintiff was disqualified and provided inaccurate certifications.

     Id. at 9; ECF 1 at ¶¶ 112-113. YDD did not provide any payments to Plaintiff under the grant

     program. ECF 1 at ¶ 120.

            Plaintiff filed this lawsuit against Defendants in both their official and individual

     capacities. Id. at ¶¶ 21-23. Plaintiffs ask for compensatory and nominal damages against

     Defendants. Id. at 29, Prayer for Relief, subsection D. Plaintiff alleges that “[r]easonable

     government officials in Defendants’ shoes would have known that their actions violated 71Five

     Ministries’ constitutional rights because the ministry’s constitutional rights were clearly

     established at the time of the violation … .” Id. at ¶ 132. The cases cited by Plaintiff in support

     of this proposition, and other relevant case law demonstrate that the rights Plaintiff claims

     Defendants violated are not clearly established and the individual capacity claims against

     Defendants should be dismissed.

     III.      LEGAL STANDARD

            Qualified immunity is a defense to damages claims brought under 42 U.S.C. § 1983.

     Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). Qualified immunity applies when a government

     official’s conduct “‘does not violate clearly established statutory or constitutional rights of which

     a reasonable person would have known.”‘ Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting
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     Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982); see also White v. Pauly, 580 US 73 (2017)

     (quoting Pearson for the same proposition). Qualified immunity recognizes that government

     officials must be given “breathing room to make reasonable but mistaken judgements” and

     “protects ‘all but the plainly incompetent or those who knowingly violate the law.’” al-Kidd, 563

     U.S. at 743 (citation omitted).

                A. Qualified Immunity May Be Properly Raised in a Fed. R. Civ. P. 12(b)(6)
                   Motion to Dismiss.

            “Qualified immunity is ‘an immunity from suit rather than a mere defense to liability.’”

     Conner v. Heiman, 672 F.3d 1126, 1130, reconsid. denied, 2012 WL 4613435 (9th Cir. 2012)

     (emphasis in original) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). Thus, a ruling

     should be made early in the case and, where possible, prior to discovery. Pearson, 555 U.S. at

     232. To that end, “[q]ualified immunity may be raised in a motion under Fed. R. Civ. P. 12(b)(6).

     Tarhuni v. Holder, 8 F. Supp. 3d 1253, 1278 (D. Or. 2014).

            The Court should apply the procedures and standards developed for assessing claims under

     Fed. R. Civ. P. 12(b)(6). See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (applying 12(b)(6)

     standard to motion to dismiss based on qualified immunity); see also Williams v. Grant Cnty., No.

     2:15-CV-01760-SU, 2016 WL 4745179, at *4 (D. Or. Sept. 12, 2016) (citing Iqbal for proposition

     that 12(b)(6) standards apply in qualified immunity case). Therefore, the Court should assess the

     complaint “‘in the light most favorable to the plaintiff’ to ‘determine whether it alleges enough

     facts ‘to state a claim to relief that is plausible on its face.’” Johnson v. Fed. Home Loan Mortg.

     Corp., 793 F.3d 1005, 1007 (9th Cir. 2015) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

     570 (2007)). When considering a motion under 12(b)(6), the Court typically cannot consider

     material outside a complaint. However, the Court may consider documents attached to the

     complaint. Durning v. First Bos. Corp., 815 F.2d 1265, 1267 (9th Cir. 1987); City of Portland v.

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     Homeaway.com, Inc., 191 F. Supp. 3d 1157, 1161 (D. Or. 2016).

             “A claim has facial plausibility when the plaintiff pleads factual content that allows the

     court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

     Iqbal, 556 U.S. at 678. A plaintiff’s allegations “must plausibly suggest an entitlement to relief,

     such that it is not unfair to require the opposing party to be subjected to the expense of discovery

     and continued litigation.” Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996

     (9th Cir. 2014) (quoting Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011)). The court, however,

     should not credit a plaintiff’s legal conclusions that masquerade as factual allegations. Iqbal, 556

     U.S. at 678-79. To be entitled to a presumption of truth, allegations in a complaint “may not

     simply recite the elements of a cause of action but must contain sufficient allegations of underlying

     facts to give fair notice and to enable the opposing party to defend itself effectively.” Starr, 652

     F.3d at 1216; see also Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of

     action, supported by mere conclusory statements, do not suffice.”)

                 B. Qualified Immunity Should Be Granted Where Plaintiff’s Allegations Do Not
                    Show that Defendants Violated a “Clearly Established” Right.

             There are two prongs to analyzing qualified immunity. Tolan v. Cotton, 572 U.S. 650, 655

     (2014). The first prong is whether the officer violated plaintiff’s constitutional rights. Id. at 655-

     56. The second prong is whether the rights were “‘clearly established’ at the time of the violation.”

     Id. at 656 (citation omitted). The prongs may be evaluated in any order. Id. The second prong is

     at issue in this motion.2 “The threshold determination of whether the law governing the conduct



     2
       Defendants do not agree that they have violated any of Plaintiff’s rights and reserve that issue for
     future motions or a final hearing on the merits. Defendants have filed their Response to Plaintiff’s
     Motion for Preliminary Injunction contemporaneously with this Motion. The response brief
     outlines why Plaintiff is unlikely to succeed on the merits of its claim. For the purposes of this
     Motion to Dismiss, Defendants ask that the Court consider whether the law governing the conduct
     alleged in the Complaint is clearly established.
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     at issue is clearly established is a question of law for the court.” Act Up!/Portland v. Bagley, 988

     F.2d 868, 873 (9th Cir. 1993).

            To be clearly established, the right in question must be “sufficiently clear that every

     reasonable official would have understood that what he is doing violated that right.” Anderson v.

     Creighton, 483 U.S. 635, 40 (1987); see also Mullenix v. Luna, 577 U.S. 7, 11 (2015). To avoid

     qualified immunity, “existing precedent must have placed the statutory or constitutional question

     beyond debate.” al-Kidd, 563 U.S. at 741; White v. Pauly, 580 U.S. 73, 79 (2017). “The rule must

     be ‘settled law.’” D.C. v. Wesby, 583 U.S. 48, 63 (2018) (quoting Hunter v. Bryant, 502 U.S. 224,

     228 (1991) (per curiam)). This requires either controlling authority or a “robust ‘consensus of

     cases of persuasive authority.’” al-Kidd,563 U.S. at 742.

            The Supreme Court has “repeatedly told courts . . . not to define clearly established law at

     a high level of generality.” al-Kidd, 563 U.S. at 742; see also White, 580 U.S. at 79 (2017)

     (“Today, it is again necessary to reiterate the longstanding principle that ‘clearly established law’

     should not be defined ‘at a high level of generality.’”) (quoting al-Kidd, 563 U.S. 742.). The right

     must be “particularized” to the facts of the case. White, 580 U.S. at 79. Otherwise, “[p]laintiffs

     would be able to convert the rule of qualified immunity . . . into a rule of virtually unqualified

     liability simply by alleging violation of extremely abstract rights Anderson v. Creighton, 483 U.S.

     635, 639-40 (1987). A state official “cannot be said to have violated a clearly established right

     unless the right’s contours were sufficiently definite that any reasonable official in the defendant’s

     shoes would have understood that he was violating it.” Plumhoff v. Rickard, 572 U.S. 765, 778-

     79 (2014).

     IV.          ARGUMENT

            Plaintiff claims Defendants violated its right to religious freedom and association by adding

     a nondiscrimination condition to the Grant applications in 2023. The challenged provision states:
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     “[a]pplicant does not discriminate in its employment practices, vendor selection, subcontracting,

     or service delivery with regard to race, ethnicity, religion, age, political affiliation, gender,

     disability, sexual orientation, national origin or citizenship status.” ECF 1-7 at 23; ECF 1 at ¶ 89.

     Even when accepting Plaintiff’s allegations as true, Plaintiff cannot establish that Defendants have

     violated any clearly established law.

                A. Plaintiff’s allegations are insufficient to show that Defendants violated a
                   clearly established right under the Free Exercise Clause by prohibiting the
                   State from adding a nondiscrimination condition for receiving grant money.

            The Free Exercise and Establishment Clauses provide that “Congress shall make no law

     respecting an establishment of religion, or prohibiting the free exercise thereof[.]” U.S. Const.

     amend. I. The Free Exercise Clause prohibits government action that is “hostile to the religious

     beliefs of affected citizens . . . and that passes judgment upon or presupposes the illegitimacy of

     religious beliefs or practices.” Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 138

     S. Ct. 1719, 1731 (2018). Indeed, “[t]he free exercise of religion means, first and foremost, the

     right to believe and profess whatever religious doctrine one desires.” Employment Div. v. Smith,

     494 U.S. 872, 877 (1990). Although the Constitution protects sincerely held religious beliefs, the

     constitution does not guarantee an unlimited right to religious practice. See Malik v. Brown, 16

     F.3d 330, 333 (9th Cir. 1994). “[T]he right of free exercise does not relieve an individual of the

     obligation to comply with a valid and neutral law of general applicability[.]” Smith, 494 U.S. at

     879 (quotation marks omitted).

            Plaintiff advances two theories for how the nondiscrimination condition violates the Free

     Exercise Clause. Plaintiff argues that the condition (1) “excludes applicants from a public benefit

     just because of their religious character and practice,” and (2) “is neither neutral nor generally

     applicable because it targets faith-based organizations like 71Five Ministries and allows for

     individualized exceptions.” ECF 20 at 17. Both arguments fail to establish that any Defendant
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     violated a clearly established right.

            1. Plaintiff relies on cases that do not support its claim that the inclusion of the
               nondiscrimination condition violates a clearly establish right.

            Plaintiff argues that “[r]easonable government officials in Defendants’ shoes would have

     known that their actions violated 71Five Ministries’ constitutional rights because the ministry’s

     constitutional rights were clearly established at the time of the violation.” ECF 1 at ¶ 132. For

     this proposition, Plaintiff cites to three Supreme Court cases: Trinity Lutheran, Espinoza, and

     Carson. Id. None of the cases come close to the particularized facts presented in this case. They,

     therefore, cannot clearly establish that Plaintiff has a right to be free from the nondiscrimination

     eligibility requirement.

            In the Trinity Lutheran line of cases, the Supreme Court struck down funding restrictions

     that categorically denied benefits to certain institutions based solely on the religious character of

     the institutions or their activities. In Trinity Lutheran, the Court held that a church could not be

     excluded from a public benefit “solely because it [was] a church.” Trinity Lutheran Church of

     Columbia, Inc. v. Comer, 582 U.S. 449, 467 (2017). In Espinoza, the Court held that a state could

     not impose a “categorical ban” on aid to “religious schools,” “solely because they are religious.”

     Espinoza v. Mont. Dep’t of Revenue, 140 S. Ct. 2246, 2261 (2020). In Carson, the Court struck

     down a funding restriction that “rigidly exclude[d] any and all sectarian schools.” Carson v.

     Makin, 596 U.S. 767, 781 & n.* (2022). In all three cases, the Court concluded that the funding

     restrictions excluded recipients “solely because of their religious character.” Id. at 780 (quoting

     Trinity Lutheran, 582 U.S. at 462); Espinoza, 140 S. Ct. at 2260 (same).

            This case differs from those cited above. All three of the cases involved funding for schools

     which specifically excluded religious schools. In contrast, YDD’s grant program does not exclude

     applicants based on the religious character of the applicants. The nondiscrimination condition

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    does not disqualify any organization based on whether it is a religious organization but rather

    disqualified any candidate, religious or not, based on discriminatory employment practices. The

    RFA clearly invites religious organizations to apply. ECF 1-9 at 5 (“To be eligible for a rant under

    this RFA, Applicants must meet the following criteria: . . . [a] faith-based organization.”) Plaintiff

    further alleges that four other “faith-based organizations” received grants under the program. ECF

    1 ¶¶ 101-02.      Plaintiff admits that those religious organizations, unlike Plaintiff, do not

    discriminate in their hiring or volunteer practices. ECF 1 ¶ 103. Plaintiff was disqualified because

    it does discriminate. ECF 1 ¶ 90. The religious character and beliefs of the various applicants

    made no difference.

            While the nondiscrimination condition prohibits discrimination with respect to religion, as

    well as race, ethnicity, age, and various other characteristics, the condition makes no reference at

    all to the religious character, affiliation, beliefs, or activities of the applicant itself. See ECF 1-7

    at 23. That is in sharp contrast with the funding restrictions considered in the Trinity Lutheran line

    of cases, all of which were explicitly premised on an institution’s religious status or religious

    exercise. See Trinity Lutheran, 582 U.S. at 455 (“a strict and express policy of denying grants to

    any applicant owned or controlled by a church, sect, or other religious entity”); Espinoza, 140 S.

    Ct. at 2256 (restriction barred all aid to “religious schools,” meaning “‘schools controlled in whole

    or in part by churches,’ ‘sectarian schools,’ and ‘religiously-affiliated schools’”); Carson, 596 U.S.

    at 775 (restriction barred aid to any “sectarian school,” meaning any school “that is associated with

    a particular faith or belief system and which, . . . promotes the faith or belief system with which it

    is associated and/or presents the material taught through the lens of this faith”).

            The Trinity Lutheran cases do not establish that inclusion of a nondiscrimination condition

    violates the free exercise clause. In fact, Plaintiff’s argument is directly contradicted by Christian


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    Legal Soc’y Chapter of the Univ. of Cal., Hastings College of the Law v. Martinez, 561 U.S. 661

    (2010). In that case, the Supreme Court upheld a substantially similar nondiscrimination policy.

    Id. at 694 n.24, 697 n.27. A law school required that all officially recognized student groups accept

    all students “regardless of [their] status or beliefs,” barring the plaintiff student group from

    discriminating on the basis of religion or sexual orientation. Id. at 668, 675. The Court rejected

    free-exercise, free-speech, and expressive-association challenges to the policy, concluding that the

    policy was generally applicable and neutral with respect to religion, and was also neutral with

    respect to any viewpoint or belief. Id. at 694 n.24, 696, 697 & n.27. The Court explained that

    “CLS’s conduct—not its Christian perspective—is, from Hastings’ vantage point, what stands

    between the group and [Registered Student Organization] status.”                Id. at 696.   The Court

    emphasized that the nondiscrimination policy applied to the plaintiff student group “in common

    with all other student organizations,” and that the plaintiff group was thus seeking a “preferential

    exemption” from the policy.” Id. at 669. The Court concluded that the group “cannot moor its

    request for accommodation to the Free Exercise Clause.” Id. at 697 n.27.

           Plaintiff’s allegations bear out a similar policy here. The nondiscrimination condition

    applies without exception to all grant applicants, and it disqualifies applicants based on their

    discriminatory practices, not their religious perspectives. See ECF 9-1 at 5 (showing that the Grant

    program is open to religious and secular groups); ECF 1 at ¶ 89 (“The 2023-25 grant application

    required applicants for the first time to check a box certifying that they “do[ ] not discriminate . .

    .”) (emphasis added) (alteration in original). Plaintiff does not, and cannot, allege that the

    nondiscrimination condition applied only to religious or faith-based organizations.

           Even if Plaintiff ultimately prevails with its legal arguments, it cannot point to “existing

    precedent [that] placed the statutory or constitutional question beyond debate.” al-Kidd, 563 U.S.


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    at 741. Defendants are therefore entitled to qualified immunity in their individual capacities.

           2. Plaintiff cannot rely on Fulton v. City of Philadelphia to argue Defendants
              violated a clearly establish right.

           Plaintiff’s invocation of Fulton v. City of Philadelphia does not provide clear precedent

    that the nondiscrimination condition violates any clearly established right. Plaintiff argues that,

    like in Fulton, Defendants retained discretion to exempt applicants from the nondiscrimination

    Condition, making it unconstitutional. ECF 1 at ¶ 171. Plaintiff’s own allegations and the clear

    meaning of the documents it attached to its Complaint show that Defendants had no discretion to

    waive the requirement.

           In Fulton, the Court stuck done Philadelphia’s nondiscrimination requirement because it

    “incorporates a system of individual exemptions, made available in this case at the ‘sole discretion’

    of the Commissioner.” Fulton v. City of Philadelphia, 593 U.S. 522, 533 (2021). This system was

    problematic because “if there is a ‘formal mechanism for granting exceptions’ that ‘invite[s] the

    government to consider the particular reasons for a person’s conduct,’” the law is not generally

    applicable and must survive strict scrutiny. Tingley v. Ferguson, 47 F.4th 1055, 1087-88 (9th Cir.

    2022) (quoting Fulton, 593 U.S. at 537).

           The allegations in the complaint and the documents attached show that the RFA and the

    application process require all applicants to certify that they will comply with the

    nondiscrimination condition. Each applicant “must complete and submit all Applicant Information

    and Certification information,” including the certification that the “Applicant does not discriminate

    in its employment practices, vendor selection, subcontracting, or service delivery with regard to

    race, ethnicity, religion, age, political affiliation, gender, disability, sexual orientation, national

    origin or citizenship status.” ECF 1-9 at 13; ECF 1-7 at 23. If the application does not comply

    with all Application Requirements, including submission of the nondiscrimination certification, it

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    will be deemed “non-responsive” and will not proceed to the “evaluation” stage. See ECF 1-9 at

    17 (“Responsive Applications meeting the requirements outlined in the Application Requirements

    section will be evaluated by an Evaluation Committee.”). Thus, the RFA does not permit

    applicants to opt out of the nondiscrimination Condition for any reason.

           Nor is there a mechanism to create individualized exemptions. Plaintiff allege that the

    RFA allows for “discretion to create exceptions” to the nondiscrimination condition. ECF 1 at ¶

    171. However, this conclusory allegation is directly contradicted by the RFA. An application

    cannot proceed to the “evaluation” stage unless the application is responsive to the Application

    Requirements, which include the nondiscrimination certification. ECF 1-9 at 13, 17. The

    “evaluation” is a competitive process of scoring and ranking the responsive applications. See ECF

    1-9 at 17-22 (describing the scoring and ranking process). If there is only one application, there

    are no other applications to rank that application against, so the agency may “dispense with” that

    competitive process and “proceed with Grant negotiations and award.” ECF 1-9 at 22. But to

    even get to that stage in the first place, an application must be responsive to the Application

    Requirements. Nothing in the RFA authorizes a waiver of those requirements. See generally ECF

    1-9.

           Plaintiff further argues that the RFA allows applicants to “negotiate” the nondiscrimination

    condition. ECF 1 at ¶ 127-28; see also ECF 20 at 21. The RFA provides that “[i]t may be possible

    to negotiate some provisions of the final Grant,” and that the “Applicant must review the . . .

    Sample Grant [attached to the RFA] and note exceptions.” ECF 1-9 at 23 (emphasis added); see

    ECF 1-7 at 22 (Plaintiff’s application, “confirm[ing] review of the sample grant agreement,” and

    requesting no “planned changes or exceptions to the standard provision of the grant agreement”).

    The RFA does not provide that an applicant may negotiate the Application Requirements


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    themselves, which are not part of the sample grant agreement. Moreover, as noted above,

    compliance with those requirements is a prerequisite for an application to even be considered, let

    alone to proceed to negotiations of a final grant agreement.

            As Plaintiff itself recognizes, if an applicant fails to certify that it will comply with the

    nondiscrimination condition, the application will be “‘considered non-responsive,’ meaning it

    [will] ‘not be considered further.’” ECF 1 at ¶ 95 (quoting ECF 1-9 at 13). Plaintiff also admits

    that there were no exceptions. See ECF 1 at ¶¶ 93-95 (alleging that Plaintiff certified that it

    complied with the nondiscrimination condition because “it had no other choice”). Plaintiff’s own

    allegations, therefore, show that there is no “system of individual exemptions” like in Fulton.

    Plaintiff, therefore, cannot rely on Fulton as precedent that the nondiscrimination agreement

    violates Plaintiff free exercise rights.

                B. The church autonomy doctrine and ministerial exception do not create a
                   clearly established right prohibiting the State from limiting grant recipients
                   to applicants who comply with a nondiscrimination condition.

            Plaintiff raises two arguments based on “church autonomy”: that the nondiscrimination

    condition violates “the ministerial exception” and that it violates the “church autonomy” doctrine.

    ECF 1 at ¶¶ 152-162. Plaintiff asserts that “the Supreme Court has clearly established relevant

    boundaries for employees: the government cannot interfere with a religious organization’s

    ‘selection of those who will personify its beliefs.’” ECF 1 at ¶ 11 (quoting Hosanna-Tabor

    Evangelical Lutheran Church & Sch. v. E.E.O.C., 565 U.S. 171, 188 (2012)). In addition to

    Hosanna-Tabor, Plaintiff cites Our Lady of Guadalupe School v. Morrissey-Berru, 140 S. Ct. 2049

    (2020), for the proposition that Defendants have violated a clearly established right. ECF 1 at ¶

    132.

            Plaintiff misconstrues the breadth of the holdings in both cases as well as the ministerial

    exception and church autonomy doctrine. Those principles place limits on claims that can be
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    brought involving religious institutions. They do not allow religious organizations to override a

    generally applicable and neutral state action that indirectly burdens the employment of ministers

    or an organization’s religiously motivated management decisions. “[A]pplying any laws to

    religious institutions necessarily interferes with the unfettered autonomy churches would

    otherwise enjoy, but this sort of generalized and diffuse concern for church autonomy, without

    more, does not exempt them from the operation of secular laws.” Puri v. Khalsa, 844 F.3d 1152,

    1168 (9th Cir. 2017).

           1. The ministerial exception is an affirmative defense and does not establish any
              right to exemption from the nondiscrimination condition.

           “The ministerial exception is an affirmative defense.” Id. at 1158 (citing Hosanna-Tabor,

    565 U.S. at 195 n. 4). It “precludes application of [employment discrimination laws] to claims

    concerning the employment relationship between a religious institution and its ministers.” Id. at

    1157 (quoting Hosanna-Tabor, 565 U.S. at 188) (alteration in Puri). It bars “any claim with an

    associated remedy that would require the church to employ a minister,” or that would require

    “relief for consequences of protected employment decisions, such as damages for lost or reduced

    pay.” Id. at 1158 (internal quotation marks omitted).

           Plaintiff argues that the nondiscrimination condition violates the ministerial exception.

    ECF 1 at ¶¶ 155-158. Its argument converts the ministerial exception from an exceptional defense

    into an all-purpose affirmative right that applies to every indirect, conditional burden on

    employment decisions involving ministers. Neither the Supreme Court nor the Ninth Circuit has

    applied the exception in this way.

           Where the ministerial exception applies, it is extremely powerful. “[W]hen applicable, it

    flatly prohibits courts from requiring a church to accept or retain an unwanted minister, or

    punishing a church for failing to do so.” Puri, 844 F.3d at 1158 (emphasis added; internal citations

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    and quotation marks omitted). It makes no difference that the law sought to be applied is “a valid

    and neutral law of general applicability.” Hosanna-Tabor, 565 U.S. at 190. Nor does it matter

    whether the employment decision at issue was “made for a religious reason.” Id. at 194. For

    example, in Hosanna-Tabor, the ministerial exception barred a claim alleging that the employee

    had been fired in retaliation for threatening to file an ADA lawsuit; the Supreme Court explained

    that it simply did not matter whether the employer’s asserted religious reason for firing her was

    genuine. Id. at 180, 194-95.

           The ministerial exception is a categorical bar, it does not depend on religious motivations,

    and it completely bypasses the standards for a free-exercise claim. If the exception were to apply

    in the way that Plaintiff invokes it, it would render any law or government action that even

    indirectly or conditionally burdens an employment decision involving a minister categorically

    unconstitutional. In considering an applicant’s grant eligibility, YDD would be totally barred from

    considering any employment practice involving ministerial positions, including retaliation or

    racial discrimination.

           Neither the Supreme Court nor the Ninth Circuit have even suggested the possibility of

    applying the ministerial exception in that manner. The courts have limited the exception to its role

    as a defense to certain types of claims. “[T]he Supreme Court has not articulated the scope of the

    ministerial exception beyond employment discrimination claims,” while the Ninth Circuit “has

    framed the exception as applicable to any state law cause of action that would otherwise impinge

    on the church’s prerogative to choose its ministers or to exercise its religious beliefs in the context

    of employing its ministers.” Puri, 844 F.3d at 1158 (internal quotation marks and citation omitted).

           There is no such cause of action at issue here. Both Hosanna-Tabor and Our Lady of

    Guadalupe School deal only with a former employee raising an employment claim under federal


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    laws. See Hosanna-Tabor, 565 U.S. at 179 (claim under the Americans with Disabilities Act);

    Our Lady, 140 S. Ct. at 2058-59 (claims under the Age Discrimination in Employment Act and

    allegation of discharge due to treatment for cancer). Plaintiff has not been sued by an employee

    and cannot invoke an affirmative defense. Even if Plaintiff were successful in arguing for the

    application of the ministerial exception in this circumstance, it cannot prove that such an expansion

    of the doctrine is a clearly established right.

            2. The church autonomy doctrine does not clearly establish a right to exemption
               from the Grant’s nondiscrimination condition.

            Plaintiff also argues that the nondiscrimination condition violates the church autonomy

    doctrine. ECF 1 at ¶ 154. Plaintiff argues that this doctrine “safeguards a religious organization’s

    decision about which employees and volunteers are best suited to further its religious mission and

    purpose.” Id. The church autonomy has not been applied in a way that would clearly establish

    that the nondiscrimination condition is unconstitutional.

            The church autonomy doctrine, known in the Ninth Circuit as the “ecclesiastical abstention

    doctrine,” does not apply here. See Puri, 844 F.3d at 1164. “[T]he ecclesiastical abstention

    doctrine is a qualified limitation, requiring only that courts decide disputes involving religious

    organizations without resolving underlying controversies over religious doctrine.” Id.; cf. Bryce,

    289 F.3d at 655 (“[The] church autonomy doctrine prohibits civil court review of internal church

    disputes involving matters of faith, doctrine, church governance, and polity.”). The doctrine “does

    not apply [when] the dispute is amenable to resolution by application of neutral principles of law.”

    Puri, 844 F.3d at 1168.

            There is no dispute involving a religious organization that would require YDD, Defendants,

    this Court, or any other state actor to “resolv[e] underlying controversies over religious doctrine.”

    See id. at 1164. Plaintiffs make no allegation that, in denying the grant application, YDD had to

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    resolve any doctrinal controversy or “decide whether a religious organization properly applied

    ecclesiastical rules in settling a leadership dispute.”                 See id. at 1167.   Applying the

    nondiscrimination condition “amounts to a secular factual question.” See id. The question is

    simply whether the grant applicant discriminated on one of the bases listed in the

    nondiscrimination certification. Plaintiff acknowledges that it did and does engage in such

    discrimination. ECF 1 at ¶¶ 41-62. Disqualifying Plaintiff from the grant program because of that

    discrimination was an “application of neutral principles of law.” See id. at 1168. The ecclesiastical

    abstention doctrine does not apply and cannot provide clear precedent that application of the

    nondiscrimination provision to Plaintiff violated clearly established law.

               C. There is no clearly established right under the Free Speech Clause
                  prohibiting the nondiscrimination condition.

           Plaintiff argues that the nondiscrimination condition violates Plaintiff’s right to expressive

    association under the Free Speech Clause of the First Amendment. ECF 1 at ¶¶ 178-183.

    Specifically, Plaintiff argues that conditioning grant eligibility on compliance with the

    nondiscrimination requirement “force[s] 71Five Ministries to give up its right to hire employees

    and work with volunteers who share its faith” Id. at ¶ 181. Plaintiff’s expressive-association

    argument is contradicted by Supreme Court case law upholding viewpoint-neutral conditions on

    government-funded programs and organizations, including a nondiscrimination condition

    substantially similar to the one at issue here.

           As the Court has explained, “[t]hat the Constitution may compel toleration of private

    discrimination in some circumstances does not mean that it requires state support for such

    discrimination.” Martinez, 561 U.S. at 683 (quoting Norwood v. Harrison, 413 U.S. 455, 463

    (2010)); see id. at 669 (conditioning access to school funds and facilities on compliance with

    nondiscrimination policy did not violate student group’s free-speech, expressive-association, or

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    free-exercise rights); Grove City Coll. v. Bell, 465 U.S. 555, 575 (1984) (conditioning federal

    funding on compliance with Title IX prohibition on sex discrimination “infringe[d] no First

    Amendment rights of [a] [c]ollege or its students”). “[A]lthough the First Amendment certainly

    has application in the subsidy context, . . . the Government may allocate competitive funding

    according to criteria that would be impermissible were direct regulation of speech or a criminal

    penalty at stake.” Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 587-88 (1998).

           In Martinez, a public law school “condition[ed] its official recognition of a student group—

    and the attendant use of school funds and facilities—on the organization’s agreement to open

    eligibility for membership and leadership to all students,” “regardless of [their] status or beliefs.”

    Martinez, 561 U.S. at 668, 675. The plaintiff student group claimed that this nondiscrimination

    policy impaired its rights to free speech, expressive association, and free exercise of religion “by

    prompting it, on pain of relinquishing the advantages of recognition, to accept members who do

    not share the organization’s core beliefs about religion and sexual orientation.” Id. at 668. The

    Supreme Court rejected all of the student group’s arguments, concluding that, while “[t]he First

    Amendment shield[ed] [the group] against state prohibition of [its] expressive activity,” the group

    “enjoy[ed] no constitutional right to state subvention of its selectivity.” Id.

           For the purposes of the free-speech and expressive-association claims, the Court analyzed

    the nondiscrimination policy under limited-public-forum principles. Id. at 685. The Court

    reasoned that cases involving “regulations that compelled a group to include unwanted members,

    with no choice to opt out,” were inapposite. Id. at 682. The Court concluded that the case instead

    “fit[] comfortably within the limited-public-forum category, for [the student group], in seeking

    what [was] effectively a state subsidy, face[d] only indirect pressure to modify its membership

    policies.” Id.


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           Under the limited-public-forum standards, the school “[could] not exclude speech where

    its distinction is not reasonable in light of the purpose served by the forum,” nor could it

    “discriminate against speech on the basis of . . . viewpoint.” Id. at 685. The Court concluded that

    the nondiscrimination policy was reasonable, in light of the school’s interests in ensuring “equal

    access to all students,” ease of enforcement, “encourage[ment] [of] tolerance, cooperation, and

    learning among students,” and “declin[ing] to subsidize with public monies and benefits conduct

    of which the people of California disapprove.” Id. at 687-90.

           Plaintiff cannot show that the application of the nondiscrimination violates any clearly

    established right to its expressive association rights. Supreme Court precedent trends the opposite.

    The State is entitled to place reasonable conditions on extending grant funds. Even if Plaintiff

    were ultimately successful in its free association claim, it cannot point to “existing precedent”

    clearly establishing its claimed right See al-Kidd, 563 U.S. at 741. Defendants are entitled to

    qualified immunity on Plaintiffs expressive association claim.

    V.        CONCLUSION

           Plaintiff cannot meet its burden to prove that Defendants violated a clearly established

    right. The allegations, even when taken as true, do not establish a particularized right that is

    “sufficiently clear that every reasonable official would have understood that what he is doing

    violated that right.” Anderson, 483 U.S. at 640 (1987). Plaintiff’s allegations paint a picture of a

    valid and neutral law of general applicability. Although Plaintiff makes conclusory allegations

    that exceptions may be made to the nondiscrimination condition, the allegations and exhibits to

    the Complaint do not bear this out. See Iqbal, 556 U.S. at 678-79 (holding that legal conclusions

    should not be credited as factual allegations). Plaintiff’s attempt to extend the ministerial

    exception and church autonomy doctrines cannot serve as “existing precedent [that] placed the

    statutory or constitutional question beyond debate.” al-Kidd, 563 U.S. at 741.            Plaintiff’s
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    expressive association claim likewise lacks any precedent supporting a clearly established right.

           Because the allegations of the Complaint do not show a violation of a clearly established

    right, Defendants are entitled to qualified immunity. The Court should dismiss Plaintiff’s claims

    for damages against Defendant in their individual capacity.

           DATED April 12, 2024.

                                                   Respectfully submitted,

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